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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MARY S. WILSON,                               )
                                              )
                        Plaintiff,            )       No:     21 CV 1955
                                              )
            v.                                )
                                              )
UNITED STATES OF AMERICA, et al               )       Judge Thomas M. Durkin
                                              )
                        Defendants.           )

                                     JOINT STATUS REPORT

       The petitioner Mary S. Wilson, by her attorney EDWARD JOHNSON, and the United

States of America, by its attorney JOHN LAUSCH, JR., hereby file this joint status report.

       1.        Nature of the Case:   On April 12, 2021, plaintiff filed a Motion for Return of

Seized Property arising out of an administrative forfeiture action of $33,783 of seized funds. On

or about June 25, 2020, the DEA seized those funds from petitioner at O’Hare Airport based on

probable cause of narcotics trafficking. On or about August 21, 2020, the DEA issued notice of

administrative forfeiture to plaintiff. Plaintiff submitted a petition for remission to the DEA on

September 19, 2020. The DEA sent a filing confirmation dated September 24, 2020. On February

19, 2021, plaintiff mailed the DEA a detailed letter explaining plaintiff did not intend to submit an

administrative petition but intended to submit a claim which would initiate judicial proceedings

and submitted an amended claim. On March 26, 2021, the DEA sent a response to plaintiff, which

offered to accept supporting documentation to be considered administratively but was unable to

extend the deadline to file a claim. On April 12, 2021, plaintiff filed a Motion for Return of Seized

Property seeking the Court to enter an order requiring the government to return plaintiff’s property

or initiate judicial forfeiture proceedings. The assets were administratively forfeited by the DEA
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on April 20,2021.

       2.      Pending Motion and Case Plan: Plaintiff filed a Motion for Return of Seized

Property and the motion is still pending. The parties suggest that this Court allow the government

to file their answer within 2 weeks and set a 30-day deadline for plaintiff’s response.

       3.      Consent to Proceed Before a Magistrate Judge: The parties’ consent to proceed

before a Magistrate Judge.

       4.      Status of Settlement Discussions: The parties have been unable to reach a

settlement agreement.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

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